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                                       ORDERED.


         Dated: September 03, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov
In re:                                                  Case No.: 6:18-bk-03706-KSJ
                                                                           Chapter 7
DAVID F. KULL
SHARON L. KULL,

      Debtors.
_______________________________/

                ORDER GRANTING PLANET HOME LENDING, LLC, AS
          SERVICER FOR WILMINGTON TRUST, N.A., NOT IN ITS INDIVIDUAL
            CAPACITY, BUT SOLELY AS TRUSTEE OF MFRA TRUST 2014-2’S
                  MOTION FOR RELIEF FROM AUTOMATIC STAY

          THIS MATTER came before the Court without necessity of a hearing upon Planet

Home Lending, LLC, as Servicer for Wilmington Trust, N.A., not in its individual capacity, but

solely as trustee of MFRA Trust 2014-2’s Motion for Relief From Automatic Stay [D.E. 47] (the

“Motion”). The Court, pursuant to Local Rule 2002-4, having considered this Motion without

further notice or hearing as no party in interest has filed an objection within twenty-one (21) days

from the date that the Motion was entered on the docket, and being otherwise duly advised in the

premises, it is, hereby

          ORDERED, as follows:
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                                                                     Case No.: 6:18-bk-03706-KSJ

       1.       The Motion is GRANTED, as set forth herein.

       2.       The Automatic Stay as is lifted to allow Planet Home Lending, LLC, As Servicer

for Wilmington Trust, N.A., not in its individual capacity, but solely as trustee of MFRA Trust

2014-2 (“Secured Creditor”), so as to allow Secured Creditor immediately commence and/or

continue state court foreclosure proceedings, and allow the state court to enter all necessary

orders, judgments, and decrees associated therewith, on real property commonly described as

5420 Tribune Drive, Orlando, FL 32812, and with a legal description described as:

       LOT 4, BLOCK C, GATLIN HEIGHTS, AS PER PLAT THEREOF,
       RECORDED IN PLAT BOOK 4, PAGE 126, PUBLIC RECORDS OF
       ORANGE COUNTY, FLORIDA. A.P.A. 16-23-30-2960-03-040

       3.       This relief is in rem only in order to complete state court foreclosure proceedings

through certificate of title and possession of the Property; however, Secured Creditor shall not

seek any in personam relief against the debtor without further order of the Court.

       4.       The Court waives the time requirements under Rule 4001(a)(3) and deems the

relief from stay effective immediately.

       5.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

                                                    ###

Submitted by:

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Chase A. Berger, Esq. is directed to serve a conformed copy of this order upon all interested
parties and shall file a Certificate of Service within 3 days from the date of this Order.




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